                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                     )
                                             )
v.                                           )        NO. 3:13-00208
                                             )        JUDGE CAMPBELL
ADERIUS BINGHAM                              )


                                            ORDER


         Pending before the Court is a Motion to Substitute Counsel (Docket No. 55). The Motion

is GRANTED.

         IT IS SO ORDERED.



                                                      __________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




     Case 3:13-cr-00208     Document 56          Filed 05/02/14   Page 1 of 1 PageID #: 100
